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                                UNITED STATES DISTRICT COURT
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                                      DISTRICT OF ARIZONA
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10   Russell B. Toomey,
                                                        Case No.19-cv-00035-TUC-RM (LAB)
11                       Plaintiff,
12   v.
                                                        JOINT LETTER TO COURT RE
13                                                      SETTLEMENT
     State of Arizona; Arizona Board of Regents,
14   D/B/A University of Arizona, a governmental
     body of the State of Arizona; et al.,
15

16                        Defendants.

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             On August 10, 2022, the Court ordered the parties to submit a joint letter concerning
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     the status of settlement discussions by October 20, 2021, and every two months thereafter.
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     (Doc. 234)
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             Pursuant to that order, the parties hereby inform the Court that there have been no
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     significant mutual agreements or developments concerning settlement to date. The parties
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     intend to engage in further settlement discussions as the case progresses.
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             Respectfully submitted this 22nd day of February, 2022.
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      Case 4:19-cv-00035-RM-LAB Document 258 Filed 02/22/22 Page 3 of 4




1    FENNEMORE CRAIG                                  ACLU FOUNDATION OF ARIZONA
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      Case 4:19-cv-00035-RM-LAB Document 258 Filed 02/22/22 Page 4 of 4




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2
                                   CERTIFICATE OF SERVICE
3
            I hereby certify that on February 22, 2022, I electronically transmitted the attached
4
     document to the Clerk’s office using the CM/ECF System for filing. Notice of this filing
5
     will be sent by email to all parties by operation of the Court’s electronic filing system.
6

7                                       /s/ Christine K. Wee
                                            Christine K. Wee
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